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5
6
7                  IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,    )
                                  )      CR. NO. S-99-0295 JAM
11                                )
                   Plaintiff,     )         GOVERNMENT’S MOTION TO DISMISS
12                                )         INDICTMENT AS TO DEFENDANTS
          v.                      )         ROGELIO MONTOYA AND JOSE JAIME
13                                )         ANDRADE; ORDER
                                  )
14   ROGELIO MONTOYA, aka         )
       Chicalito, and             )
15   JOSE JAIME ANDRADE, aka      )
       Coronel,                   )
16                                )
                    Defendants.   )
17   _____________________________)
18
          Pursuant to Rule 48(a) of the Federal Rules of Criminal
19
     Procedure, the United States hereby moves to dismiss all the
20
     charges contained in the indictments in this case as to
21
     defendants Rogelio Montoya and Jose Jaime Andrade.        Both
22
     defendants (Mexican nationals) have been fugitives since charges
23
     were filed in this case and are believed to be living in Mexico.
24
     The eleven defendant case is now over ten years old.        The case
25
     was completed as to all the remaining defendants (seven
26
     convicted, two dismissed) as of the end of 2000.        At this point
27
     the investigative agency (DEA) wishes to close the case (e.g.,
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1    destroy the stored evidence and terminate any efforts to locate
2    the fugitives).   The U.S. Attorney’s Office concurs.       Therefore,
3    it is respectfully submitted that the present motion be granted.
4
5    Dated: December 8, 2011
6                                           BENJAMIN B. WAGNER
                                            United States Attorney
7
8                                       By: /s/ Richard J. Bender
                                           RICHARD J. BENDER
9                                          Assistant U.S. Attorney
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8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,    )
                                  )      CR. NO. S-99-0295 JAM
11                                )
                   Plaintiff,     )      ORDER GRANTING MOTION TO DISMISS
12                                )      INDICTMENT AS TO DEFENDANTS
          v.                      )      ROGELIO MONTOYA AND JOSE JAIME
13                                )      ANDRADE
     ROGELIO MONTOYA, aka         )
14     Chicalito, and             )
     JOSE JAIME ANDRADE, aka      )
15     Coronel,                   )
                                  )
16                  Defendants.   )
     _____________________________)
17
18        Upon consideration of the government’s motion pursuant to
19   Rule 48(a), F.R.Crim.P., to dismiss all charges contained in the
20   indictments in this case against defendants-fugitives Rogelio
21   Montoya and Jose Jaime Andrade, good cause having been shown, it
22   is hereby ORDERED that the charges against these two defendants
23   are dismissed and any arrest warrants based upon those charges
24   are hereby recalled.
25
26   Dated: December 12, 2011
27                                             /s/ John A. Mendez
                                                 JOHN A. MENDEZ
28                                             U.S. District Judge
